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12   Plaintiffs’ Counsel

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15                                  UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                          SAN FRANCISCO DIVISION
18

19
     IN RE PACIFIC FERTILITY CENTER                  Case No. 3:18-cv-01586-JSC
20   LITIGATION
21                                                   DECLARATION OF AMY M. ZEMAN IN
     This Document Relates to:                       SUPPORT OF PLAINTIFFS’
22   Case No. 3:18-cv-01586                          ADMINISTRATIVE MOTION TO FILE
     (A.B., C.D., E.F., G.H., and I.J.)              UNDER SEAL
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       DECLARATION OF AMY M. ZEMAN IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE
                           MOTION TO FILE UNDER SEAL
                             CASE NO. 3:18-cv-01586-JSC
             Case 3:18-cv-01586-JSC Document 630-1 Filed 12/22/20 Page 2 of 6




 1          I, Amy M. Zeman, declare as follows:

 2          1.      I am a partner at the law firm Gibbs Law Group LLP, counsel for plaintiffs in the above-

 3   captioned action. I submit this declaration in accordance with Civil Local Rule 79-5 in support of

 4   Plaintiffs’ Administrative Motion to Seal the following documents or portions thereof:

 5                 Portions of Plaintiffs’ Motion to Exclude Expert Testimony;

 6                 Certain exhibits to the Declaration of Amy M. Zeman in Support of Plaintiffs’ Motion to

 7                  Exclude Expert Testimony, including

 8                        Exhibit 1 – Expert Report of Eldon Leaphart dated November 6, 2020;

 9                        Exhibit 2 – Excerpts from the November 18, 2020 deposition of Eldon Leaphart;

10                        Exhibit 3 – Expert Report of John Cauthen dated November 6, 2020;

11                        Exhibit 4 – Excerpts from the November 24, 2020 Deposition of John Cauthen

12                        Exhibit 5 – Supplemental Report of Grace Centola dated November 20, 2020;

13                        Exhibit 6 – Excerpts from the November 23, 2020 deposition of Grace Centola;

14                        Exhibit 7 – Supplemental Report of Franklin Miller dated November 20, 2020;

15                        Exhibit 8 – Excerpts from the December 1, 2020 Franklin Miller deposition;

16                        Exhibit 9 – Second Rebuttal Report of Franklin Miller dated December 11, 2020;

17                        Exhibit 10 – Expert Report of Angela Lawson dated December 4, 2020;

18                        Exhibit 11 – Excerpts from the December 11, 2020 deposition of Angela

19                         Lawson;

20                        Exhibit 13 – Bates-stamped document MSO005378 – MSO005380; and

21                        Exhibit 14 – Pacific MSO, LLC’s Response to Defendant Chart, Inc.’s Subpoena

22                         for 30(b)(6) Deposition by Written Questions, dated October 23, 2020; and

23                 Portions of Plaintiffs’ Proposed Order to Exclude Expert Testimony.

24          2.      On November 5, 2020, the Court entered the Parties’ Second Amended Stipulated

25   Protective Order, under which a party or non-party may designate information or items that it produces

26 or discloses in response to discovery as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

27 ATTORNEYS’ EYES ONLY.” (ECF No. 598, ¶ 5.2.) Paragraph 12.3 of the Stipulated Protective

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        DECLARATION OF AMY M. ZEMAN IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE
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 1   Order prohibits a party from filing in the public record any Protected Material without written

 2   permission from the Designating Party or a court order secured after appropriate notice to all interested

 3   persons. (Id. ¶ 12.3.)

 4          3.      The following portions of Plaintiffs’ Motion to Exclude Expert Testimony quote,

 5   reference, or otherwise rely on documents designated by Chart or Pacific MSO, LLC as

 6   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to the

 7   Second Amended Stipulated Protective Order:

 8
                              Page          Line(s)              Designating Party
 9
                               1            8 – 21                    Chart Inc.
10                             1               23                     Chart Inc.
                               2            7 – 13                    Chart Inc.
11                             2            16 – 25                   Chart Inc.
                               3             1–4                      Chart Inc.
12                             3                6                     Chart Inc.
13                             4            4 – 17                    Chart Inc.
                               5            24 – 28                   Chart Inc.
14                             6                1                     Chart Inc.
                               6             3–6                      Chart Inc.
15                             6            9 – 18                    Chart Inc.
16                             6            23 – 28                   Chart Inc.
                               6              1 –2                    Chart Inc.
17                             7            6 – 13                    Chart Inc.
                               7            15 – 27                   Chart Inc.
18                             8             3 – 15                   Chart Inc.
19                             8            18 – 28         Chart Inc.; Pacific MSO, LLC
                               9             1 – 18         Chart Inc.; Pacific MSO, LLC
20                             10            4 – 11         Chart Inc.; Pacific MSO, LLC
                               10           17 – 27                   Chart Inc.
21                             11             1–2                     Chart Inc.
22                             11           10 – 25         Chart Inc.; Pacific MSO, LLC
                               12             4–6                     Chart Inc.
23                             12           10 – 18                   Chart Inc.
                               12           21 – 22                   Chart Inc.
24                             13            1 – 10                   Chart Inc.
25                             13           18 - 28                   Chart Inc.
                               14             4–6                     Chart Inc.
26                             14           11 – 16                   Chart Inc.
                               14           23 – 28                   Chart Inc.
27                             15             2–9                     Chart Inc.
                               15           13 – 14                   Chart Inc.
28
        DECLARATION OF AMY M. ZEMAN IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE
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                            Page             Line(s)             Designating Party
 1
                             15                 17                   Chart Inc.
 2                           15              22 – 26                 Chart Inc.
                             16                2–7                   Chart Inc.
 3                           16               9 - 12                 Chart Inc.
                             16              14 – 15                 Chart Inc.
 4                           16              20 – 24                 Chart Inc.
 5                           17               4 – 17                 Chart Inc
                             17                 19                   Chart Inc
 6                           17              24 – 28                 Chart Inc
                             18                1–2                   Chart Inc
 7                           18                4–5                   Chart Inc
 8                           18               7 – 11                 Chart Inc
                             18              17 – 25                 Chart Inc
 9                           19                1–4                   Chart Inc
                             19              20 – 26                 Chart Inc
10                           20               1 – 10                 Chart Inc
11                           20                 16                   Chart Inc
                             20              20 – 21                 Chart Inc
12                           21                4–6                   Chart Inc
                             21                 10                   Chart Inc
13                           21                 12                   Chart Inc
14                           21              14 – 15                 Chart Inc
                             21              17 – 23                 Chart Inc
15                           22                 2                    Chart Inc
                             22              13 – 22                 Chart Inc
16                           23               1 – 12                 Chart Inc
17                           23                 14                   Chart Inc

18
            4.       The following exhibits to the Declaration of Amy M. Zeman in Support of Plaintiffs’
19
     Motion to Exclude Expert Testimony quote, reference, or otherwise rely on documents designated by
20
     Chart or Pacific MSO, LLC as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
21
     EYES ONLY” pursuant to the Second Amended Stipulated Protective Order:
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                 Exhibit                 Page                   Line(s)           Designating Party
24                 1               Designated in Full      Designated in Full         Chart Inc
                   2               Designated in Full      Designated in Full         Chart Inc
25                 3               Designated in Full      Designated in Full         Chart Inc
26                 4               Designated in Full      Designated in Full         Chart Inc
                   5               Designated in Full      Designated in Full         Chart Inc
27                 6               Designated in Full      Designated in Full         Chart Inc
                   7               Designated in Full      Designated in Full         Chart Inc
28
        DECLARATION OF AMY M. ZEMAN IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE
                            MOTION TO FILE UNDER SEAL
                              CASE NO. 3:18-cv-01586-JSC
             Case 3:18-cv-01586-JSC Document 630-1 Filed 12/22/20 Page 5 of 6



                 Exhibit                  Page                  Line(s)             Designating Party
 1
                   8                Designated in Full     Designated in Full            Chart Inc
 2                 9                Designated in Full     Designated in Full            Chart Inc
                   10               Designated in Full     Designated in Full            Chart Inc
 3                 11               Designated in Full     Designated in Full            Chart Inc
                   13               Designated in Full     Designated in Full       Pacific MSO, LLC
 4                 14               Designated in Full     Designated in Full       Pacific MSO, LLC
 5

 6          5.       The following portions of Plaintiffs’ Proposed Order to Exclude Expert Testimony
 7   quote, reference, or otherwise rely on documents designated by Chart as “CONFIDENTIAL” or
 8   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to the Second Amended
 9   Stipulated Protective Order:
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11                          Page              Line(s)             Designating Party
                             1                7 – 22                  Chart Inc.
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13          I declare under penalty of perjury under the laws of the United States that the foregoing is true

14   and correct.

15          Executed this 22nd day of December 2020, in San Rafael, California.

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                                                          /s/ Amy M. Zeman
17                                                        Amy M. Zeman
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 1                                     CERTIFICATE OF SERVICE

 2                 I hereby certify that on December 22, 2020, I electronically filed the foregoing

 3   document using the CM/ECF system, which will send notification of such filing to all counsel of

 4   record registered in the CM/ECF system. I also caused an unredacted copy of the foregoing document

 5   to be served via email on counsel of record.

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 7                                                                /s/ Amy M. Zeman

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                           MOTION TO FILE UNDER SEAL
                             CASE NO. 3:18-cv-01586-JSC
